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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
In re Cassava Sciences, Inc.
Securities Litigation

-vs-                                                            Case No.:     1:21-cv-751-DAE




                          MOTION FOR ADMISSION PRO HAC VICE


TO THE HONORABLE JUDGE OF SAID COURT:

                            Zachary Rowen Taylor
        Comes now ________________________________________, applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

                                  Remi Barbier and Lindsay Burns in this case, and would
Texas pro hac vice to represent ________________________________

respectfully show the Court as follows:

1.      Applicant is an attorney and a member of the law firm (or practices under the name of)

        _________________________________________________________________________,
                                  Baker & Hostetler LLP

        with offices at

                Mailing address:         45 Rockefeller Plaza
                                         ________________________________________________

                City, State, Zip Code:           New York, New York 10111
                                                ___________________________________________

                Telephone:               212-589-4200
                                         ________________________________________________

                Facsimile:                  _______________________________________________
                                         212-589-4201
                                                  ztaylor@bakerlaw.com
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2.             January 19, 2017
     Since _______________________, Applicant has been and presently is a member of and in

                                                           New York
     good standing with the Bar of the State of _______________________________.

                                               5498043
     Applicant’s bar license number is _______________________.

3.   Applicant has been admitted to practice before the following courts:

     Court:                                              Admission date:

     U.S. Court of Appeals, Second
     ______________________________                       11/6/2018
                                                         ______________________________
     Circuit
     U.S. District Court, Eastern
     ______________________________                       8/10/2018
                                                         ______________________________
     District of New York
     U.S. District Court, Southern
     ______________________________                       8/10/2018
                                                         ______________________________
     District of New York
     State of New York
     ______________________________                       1/19/2017
                                                         ______________________________

4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragraph before which

     Applicant is no longer admitted to practice):

     N/A
     ________________________________________________________________________

     ________________________________________________________________________

5.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as provided

     below:

     N/A
     ________________________________________________________________________

     ________________________________________________________________________

6.   Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

     except as provided below (omit minor traffic offenses):

     N/A
     ________________________________________________________________________


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7.    Applicant has read and is familiar with the Local Rules of the Western District of Texas and

      will comply with the standards of practice set out therein.

8.    Select one:

      G      Applicant has on file an application for admission to practice before the United

             States District Court for the Western District of Texas.

      G
      ✔      Applicant has co-counsel in this case who is admitted to practice before the United

             States District Court for the Western District of Texas.

             Co-counsel:              C. Shawn Cleveland
                                      ________________________________________________

             Mailing address:         2850 North Harwood Street, Suite 1100
                                      ________________________________________________

             City, State, Zip Code:          Dallas, Texas 75201
                                             ___________________________________________

             Telephone:               (214) 210-1200
                                      ________________________________________________

9.    Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00

      pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable

      to: Clerk, U.S. District Court].

10.   Should the Court grant applicant's motion, Applicant shall register as a filing user within 10

      days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

      in Civil and Criminal Cases in the Western District of Texas.




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
In re Cassava Sciences, Inc.
Securities Litigation
-vs-                                                                   Case No. 1:21-cv-751-DAE




                                                 ORDER


       BE IT REMEMBERED on this the ________ day of ________________, 20____, there

was presented to the Court the Motion for Admission Pro Hac Vice filed by

    Zachary Rowen Taylor
___________________________                                   Remi Barbier and Lindsay and
                                 (“Applicant”), counsel for __________________________
                                                                      Burns
the Court, having reviewed the motion, enters the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant

                           Remi Barbier and Lindsay
may appear on behalf of _____________________________ in the above case.
                                    Burns
      IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT-1(f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

       IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.

       IT IS FINALLY ORDERED that Applicant’s Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

       SIGNED this the ________ day of _____________________ 20____.


                                                     _______________________________________
                                                     UNITED
                                                     UNITED STATES
                                                             STATES DISTRICT
                                                                     DISTRICT JUDGE
                                                                              JUDGE

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